       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 1 of 17
                                                                                          EFILED IN OFFICE
                                                                                       CLERK OF STATE COURT
                                                                                     FORSYTH COUNTY, GEORGIA
                                                                                       21SC-0507-B
                      IN THE STATE COURT OF FORSYTH COUNTY                         Judge T. Russell McClelland
                                 STATE OF GEORGIA                                    APR 01, 2021 04:49 PM

                                                                                                  aLUL-
 PEARLINE TOPPIN,                                                                                F.41nairag:
         Plaintiff,
                                                     CASE NO.:
 vs.
                                                     JURY TRIAL
 WAL-MART STORES EAST,LP,

         Defendant.



                               COMPLAINT FOR DAMAGES

       COMES NOW,Pearline Toppin (hereinafter "Plaintiff'), in the above-styled action, and

files this, his Complaint for Damages against Wal-Mart Stores East, LP.(hereinafter "Defendant"),

as follows:

                                                1.

       Plaintiff is a resident of the State of Georgia and consents to the jurisdiction and venue of

this Court.

                                                2.

       Defendant Wal-Mart Stores East, LP (hereinafter "Defendant") is a foreign for-profit

corporation organized and operating under the laws ofthe State of Delaware with a principal place

of business at 708 SW 8th Street, Bentonville, Arkansas 72716 and is authorized to transact

business in the State of Georgia.

                                                3.

       Defendant maintains a retail location at 5200 Winward Parkway, Alpharetta, Georgia,

Fulton County, Georgia 30004.



                                            Page 1 of7
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 2 of 17




                                                4.

       Defendant is subject to the jurisdiction and venue of this Court.

                                                5.

       Service can be perfected upon Defendant by serving its registered agent, The Corporation

Company, at 112 North Main Street, Cumming, Georgia 30040.

                                    FACTS OF THE CASE

                                               6.

       On August 19,2019, Defendant was engaged in the ownership, management, and operation

of the Walmart store located at 5200 Winward Parkway, Alpharetta, Georgia, Fulton County,

Georgia 30004 (hereinafter "Premises").



                                               7.

       On August 19, 2019, Plaintiff was an invitee of the Premises to purchase products sold by

Defendant.

                                               8.

       On August 19, 2019, in and around Defendant's chips and candy asile, a clear liquid had

accumulated on the floor which created a Hazardous Condition on the Premises (hereinafter the

"Hazardous Condition").

                                               9.

       While shopping, Plaintiff slipped and fell in the Hazardous Condition (hereinafter

"Incident").

                                               10.

       Defendants provided no warning of any Hazardous Condition to Plaintiff.


                                           Page 2 of7
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 3 of 17




                                                  11.

        Plaintiff's fell backwards hitting the floor and suffering multiple injuries, including, but

not limited to, a contusion to the right lower leg, mid and low back, and right hip.

                                                  12.

        Plaintiff suffered severe physical injury due to the fall.

                                                  13.

        Plaintiff immediately sought medical treatment for her injuries from the fall.

                                                  14.

        Plaintiff continues to experience pain and suffering related to the fall injuries.

                                        COUNT I — NEGLIGENCE

                                                  1 5.

        Plaintiff incorporates and realleges the assertions and allegations contained in paragraphs

1 - 14, as if fully set forth herein.

                                                 16.

        Defendant owed a duty of care to Plaintiff to act reasonably in the inspection, operation,

and maintenance of the Premises.

                                                 17.

        Defendant breached its duty to Plaintiff by:

        a) Failing to properly inspect the Premises for Hazardous Conditions;

        b) Allowing a Hazardous Condition to exist and remain on the Premises;

       c) Failing to maintain a safe environment for its invitees;

        d) Failing to warn Plaintiff of the Hazardous Condition; and




                                              Page 3 of7
        Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 4 of 17




        e) For other negligent acts and omissions which shall be discovered during the litigation

            and presented at trial.

                                                 18.

        At all times relevant to the subject Incident, Plaintiff was without fault or negligence.

                                                 1 9.

        As a direct and proximate cause of the Defendant's negligence, Plaintiff has sustained

severe ongoing physical injuries.

                                                 20.

        As a direct and proximate cause of the Defendant's negligence, Plaintiff has incurred

medical expenses which today total in excess of $24,000.00.

                                                 21.

        As a direct and proximate result of the Defendants' negligence, Plaintiff may continue to

incur future medical expenses for an indeterminate time into the future.

                                                 22.

        As a direct and proximate result of the Defendants' negligence, Plaintiff has incurred, and

continues to incur, pain and suffering, mental anguish, and emotional distress.

                             COUNT II— RESPONDEAT SUPERIOR

                                                23.

        Plaintiff incorporates and realleges the assertions in allegations contained in paragraph 1 -

22, as if fully set forth herein.

                                                24.

        At the time of the subject Incident, Defendant's employees and agents working on the

Premises were working within the course and scope of their employment.


                                             Page 4 of 7
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 5 of 17




                                                 25.

        At the time ofthe subject Incident, Defendant's employees and agents were responsible for

the inspection and maintenance of the Premises such that it should be clear of Hazardous

Conditions.

                                                 26.

        Defendants is responsible for the actions and/or inactions of its employees with respect to

the subject Incident as a matter of law.

                               COUNT V - PREMISES LIABILITY

                                                 27.

        Plaintiff incorporates and realleges the assertions and allegations contained in paragraphs

I- 26, as if fully set forth herein.

                                                 28.

        Plaintiff was an invitee on the Premises at the time of the Incident.

                                                29.

        Defendant owed a nondelegable duty of reasonable care in keeping the Premises safe for

invitees such as Plaintiff.

                                                 30.

        Defendant, by and through their employees who were working within the course and scope

of their employment at the time ofthe Incident, allowed the Hazardous Condition to exist.

                                                31.

        At all times relevant to the subject Incident, Defendant had superior knowledge of the

Hazardous Condition which existed on Defendant's Premises.




                                             Page 5 of7
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 6 of 17




                                                 32.

       Plaintiff did not know of the danger posed by the Hazardous Condition at the time of the

Incident.

                                                 33.

       Defendant had actual or constructive knowledge of the existence of the Hazardous

Condition and should have warned invitees to the Hazardous Condition.

                                                 34.

       Defendant was negligent in failing to properly inspect or maintain its Premises, in failing

to remedy the presence of the Hazardous Condition, in failing to take adequate measures to protect

invitees, and in failing to keep the Premises safe for invitees.



       WHEREFORE,the Plaintiff prays:

       1. That summons issue and that the Defendant be made party to this action as provided

            by law;

       2. That this case be tried by a jury of 12;

       3. That Plaintiff receives a judgment against Defendant for general damages including

            pain and suffering, mental anguish, and emotional distress, in such an amount as may

            be shown by the evidence and determined by the enlightened conscience of the jury;

       4. That Plaintiff receives a judgment against Defendant for special damages incurred,

            including but not limited to, medical expenses and lost wages, in an amount to be shown

            at trial and determined by the enlightened conscience of the jury;

       5. That Plaintiff be awarded all costs of litigation, including reasonable attorney's fees

            and expenses; and


                                              Page 6 of7
      Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 7 of 17




      6. That the Court order such other and further relief as necessary.

          This 1st day of April 2021.

                                                   Lowe Law Firm,P.C.
                                                  /s/Shaun Daugherty
                                                  Shaun Daugherty
                                                  Shaun@lowelawatl.com
                                                   Georgia Bar Number: 205877
                                                   Attorney for Plaintiff


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                                          Page 7 of7
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 8 of 17




                  IN THE STATE COURT OF FORSYTH COUNTY
                             STATE OF GEORGIA

PEARLINE TOPPIN,                                           Civil Action File No.
                                                           21SC-0507-B
             Plaintiff,
v.

WAL-MART STORES EAST, LP,

             Defendant.
                              /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART STORES EAST, LP and makes this

Answer to Plaintiff's Complaint as follows:

                                   FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                  SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                  THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.


                                                                             Page -1-
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 9 of 17




                               FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                SIXTH DEFENSE

      Plaintiff's claims for attorney’s fees should be dismissed as a matter of law.

                              SEVENTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 1 of Plaintiff's Complaint.

                                         2.

      Defendant admits the allegations contained in paragraph 2 of the Plaintiff's

Complaint, but shows that it is a "limited partnership".




                                                                            Page -2-
      Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 10 of 17




                                        3.

      Defendant admits that it operates the subject store and admits the allegations

contained in paragraph 3 of the Plaintiff's Complaint.

                                        4.

      Defendant denies the allegations contained in paragraph 4 of the Plaintiff's

Complaint. Jurisdiction and venue are now proper in the United States District

Court, Northern District of Georgia, Gainesville Division.

                                        5.

      Defendant admits the allegations contained in paragraph 5 of the Plaintiff's

Complaint.

                                        6.

      Defendant admits only that it operated the subject store. Defendant denies

the remaining allegations contained in paragraph 6 of the Plaintiff's Complaint.

                                        7.

      Defendant lacks sufficient information to either admit or deny the allegations

contained in paragraph 7 of the Plaintiff's Complaint.

                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.



                                                                           Page -3-
      Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 11 of 17




                                        9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's

Complaint.

                                       10.

      Defendant denies the allegations contained in paragraph 10 of the Plaintiff's

Complaint, as stated. Defendant further denies a "Hazardous Condition".

                                       11.

      Defendant denies the allegations contained in paragraph 11 of the Plaintiff's

Complaint.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of the Plaintiff's

Complaint.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of the Plaintiff's

Complaint.

                                       14.

      Defendant denies the allegations contained in paragraph 14 of the Plaintiff's

Complaint.




                                                                          Page -4-
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 12 of 17




                                        15.

       Defendant incorporates and realleges the answers contained in paragraphs

1-14, as if fully set forth herein.

                                        16.

       Defendant denies the allegations contained in paragraph 16 of the Plaintiff's

Complaint, as stated. The applicable statute and case law speak for themselves.

                                        17.

       Defendant denies the allegations contained in paragraph 17 of the Plaintiff's

Complaint, including subparagraphs a), b), c), d), and e) thereof.

                                        18.

       Defendant denies the allegations contained in paragraph 18 of the Plaintiff's

Complaint.

                                        19.

       Defendant denies the allegations contained in paragraph 19 of the Plaintiff's

Complaint.

                                        20.

       Defendant denies the allegations contained in paragraph 20 of the Plaintiff's

Complaint.




                                                                           Page -5-
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 13 of 17




                                        21.

       Defendant denies the allegations contained in paragraph 21 of the Plaintiff's

Complaint.

                                        22.

       Defendant denies the allegations contained in paragraph 22 of the Plaintiff's

Complaint.

                                        23.

       Defendant incorporates and realleges the answers contained in paragraphs

1-22, as if fully set forth herein.

                                        24.

       Defendant denies the allegations contained in paragraph 24 of the Plaintiff's

Complaint, as stated.

                                        25.

       Defendant denies the allegations contained in paragraph 25 of the Plaintiff's

Complaint. The applicable statute and case law speak for themselves.

                                        26.

       Defendant denies the allegations contained in paragraph 26 of the Plaintiff's

Complaint.




                                                                           Page -6-
       Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 14 of 17




                                         27.

       Defendant incorporates and realleges the answers contained in paragraphs

1-26, as if fully set forth herein.

                                         28.

       Defendant lacks sufficient information to either admit or deny the allegations

contained in paragraph 28 of the Plaintiff's Complaint.

                                         29.

       Defendant denies the allegations contained in paragraph 29 of the Plaintiff's

Complaint, as stated. The applicable statute and case law speak for themselves.

                                         30.

       Defendant denies the allegations contained in paragraph 30 of the Plaintiff's

Complaint.

                                         31.

       Defendant denies the allegations contained in paragraph 31 of the Plaintiff's

Complaint.

                                         32.

       Defendant denies the allegations contained in paragraph 32 of the Plaintiff's

Complaint.




                                                                            Page -7-
        Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 15 of 17




                                         33.

       Defendant denies the allegations contained in paragraph 33 of the Plaintiff's

Complaint.

                                         34.

       Defendant denies the allegations contained in paragraph 34 of the Plaintiff's

Complaint.

                                         35.

       All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                         36.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs 1., 2.,

3., 4., 5., and 6., thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                       McLAIN & MERRITT, P.C.



                                       /s/ Howard M. Lessinger
                                       Howard M. Lessinger
                                       Georgia Bar No. 447088


                                                                             Page -8-
      Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 16 of 17




                                    /s/ Jennie Rogers
                                   Jennie Rogers
                                   Georgia Bar No. 612725
                                   Attorneys for Defendant
                                   WAL-MART STORES EAST, LP

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                                                                    Page -9-
      Case 2:21-cv-00090-SCJ Document 1-2 Filed 04/21/21 Page 17 of 17




                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, LP has this day been filed and served

upon opposing counsel via Peach Court E-File.

      This the   21st   day of April, 2021.

                                       McLAIN & MERRITT, P.C.



                                       /s/ Howard M. Lessinger
                                       Howard M. Lessinger
                                       Georgia Bar No. 447088
                                       Attorney for Defendant
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                                                                   Page -10-
